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UNI'[`ED S'I`ATES DISTRICT COU RT FI L E D

FOR THE DISTRIC'I` OF COLUMBIA
JAN t l 2019

Clerk, U.S. District and
L__ Bankmptcy Courts _‘

 

UNITED S'I`ATES OF AMERICA

v. Criminal No. 81-03{}6(1’111~`)
JOHN W. l'IINCKLEY, .IR.,

Defcndant f Petitioner.

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MEMORANDUM OPINION AND ORDER

 

On November 19, 2018, the Court issued a Minute ()rder directing the parties to
tile on the public docket redacted versions of` three exhibits [Dkt. Nos. 66]-3` 661-4. 661-5] and
the government’s notice [Dkt. No. 661-1] that were filed under seal on November l5, 2018.!
The three exhibits that were filed under seal are: (]) the Independent Forensic Psycltiatrie
livaluation ol`.lohn W. I'Iinekle_v_. Jr. by Dr. Ra_vmond Patterson; (2) the Indepcndent Forensic
Psyehological Eva]uation by Dr. Mitchell Hugonnet; and (3) the Vioience Risi< Assessment
Update ol`.lohn W. l'Iincklcy, .lr. by Dr, Samant`na Benesh.

In response 10 the Court’s Minute Order, the United States moved [Dkl. No. 66?]
on Dccembel‘ 20, 20]8, for leave to file under seal its attached notice 0f"f`1]ing of its redacted
expert repot‘ts. Attached to that sealed motion_. the United States filed ~ also under Seal - tlte
redacted versions 01" Dr. Patterson’s report [Dkt. No. 667-2] and Dr. l-lugonnet’s report [Dkt. No.

66?-3]. In its notice of filing of redacted government expert reports [Dkt. No. 66?`-1], the United

 

' The government"s notice [661-1] - originally filed under seal - was filed on the

public docket on .lanuary 8. 2019 under Dkt. No. 6?1.

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States explained that it “ha[d] provided the proposed redactions to both counsel for Mr. Hinckley
and the Department of` Behavioral Health. The Department of Behavioral I-Iealth has approved
the proposed redactions. However, at this time defense counsel has not indicated support or
opposition to the proposed redactions.”

The District of` Columbia Department of` Behavioral Health (“DBH”) then moved
[Dkt. No. 668] on December 21, 2018, for leave to file under seal its attached notice of filing of
its redacted expert report. Attached to that sealed motion, DBH filed - also under seal -the
redacted version of` Dr. Benesh’s report [Dkt. No. 668-2]. In its notice of` filing of its redacted
expert report [Dkt. No. 668-1], DBH explains that it “ha[d] provided the proposed redactions to
counsel for Mr. Hinckley and the United States Attomey’s Of`fice. The United States Attomey’s
Of`fice has approved the proposed redactions. As of` the date of filing, defense counsel has not
indicated its position.”

The Court granted by Minute Order the United States’ and DBH’s motions for
leave to file under seal their notices of` filing of the redacted expert reports on December 20,
2018 and January 8, 2019, respectively. Accordingly, all three expert reports - in their proposed
redacted form - and their respective notices of filing have been filed under seal on the docket
[Dkt. Nos. 669, 670].

Subsequently, Mr. Hinckley’s counsel made representations by email to this Court n
and opposing counsel objecting to the filing of the three reports - as redacted by the United
States and DBH - on the public docket. He argues that the reports are comprised of` personal
records, state testing results, and analysis, in which Mr. Hinckley has a privacy interest. Without
a hearing or public testimony, Mr. Levine objects to the filing of` any of` these reports on the

public docket.

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.Accordingly, it is hereby

ORDERED that on or before February 15, 2019, Mr. Hinckley, through counsel,
shall submit a memorandum of law presenting his legal arguments, supported by case law, as to
why redacted versions of the expert reports should not be filed on the public docket; it is

FURTHER ORDERED that the United States and DBH may file any responses
on or before March l, 2019; it is

FURTHER ORDERED that Mr. Hinckley may file any reply on or before March
15, 2019; and it is

FURTHER ORDERED that the submissions of the parties in response to this

order shall be filed on the public docket.

 

SO ORDERED.
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‘ PAUL L. FRIEDMAN
United States District .ludge
DATE: \\ \\ \\¢1

